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                         IN THE UNITED STATES DISTRICT COURT
                                      DISTRICT OF UTAH


UNITED STATES OF AMERICA,                           NOTICE OF APPEARANCE OF
                                                    COUNSEL
                       Plaintiff,
                                                    Case No. 2:24-cr-00357-TS
        vs.
                                                    Senior Judge Ted Stewart
AARON WAGNER and MICHAEL MAINS,

                       Defendants.

       Notice is hereby given of the entry of appearance of Travis K. Elder, Assistant United

States Attorney, as co-counsel for the United States of America in the above captioned matter for

the purposes of all forfeiture related matters. Please serve all further notices and copies of

pleadings, papers and other materials relevant to this action upon:

       Carl D. LeSueur (Lead Counsel)                Travis K. Elder (Co-Counsel)
       Assistant United States Attorney              Assistant United States Attorney
       111 South Main St., Ste. 1800                 111 South Main St., Ste. 1800
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       Dated: November 7, 2024.
                                                 TRINA A. HIGGINS
                                                 United States Attorney

                                                 /s/ Travis K. Elder
                                                 TRAVIS K. ELDER
                                                 Assistant United States Attorney
